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                         UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF PENNSYLVANIA

DENNIS A. FORBES,                       :
                                            CIVIL ACTION NO. 3:20-0822
                         Petitioner     :
                                                 (JUDGE MANNION)
                   v.                   :

UNITED STATES OF                        :
AMERICA,
                                        :
                         Respondent

                                      ORDER


        In accordance with this court’s memorandum issued this same day, IT

IS HEREBY ORDERED THAT:

        1. Petitioner’s motion for reconsideration (Doc. 6) is GRANTED.

        2. The Clerk of Court is directed to VACATE this Court’s October
             16, 2020 Memorandum and Order.

        3. The Clerk of Court is directed to REOPEN the above
             captioned action.


                                      s/ Malachy E. Mannion
                                      MALACHY E. MANNION
                                      United States District Judge
Dated: November 5, 2020
20-0822-02-Order
